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 1   Bruce Locke (#177787)
     Moss & Locke
 2   4354 Town Center Blvd., #114-59
     Eldorado Hills, CA 95762
 3   916-719-3194
     Attorneys for Kioni M. Dogan
 4

 5
                                    UNITED STATES DISTRICT COURT
 6
                                    EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES,                                   No. 16-CR-0199 GEB
 9
                       Plaintiff,
10
            v.                                        STIPULATION AND PROPOSED ORDER
11                                                    CONTINUING THE STATUS
     KIONI M. DOGAN, et. al.,                         CONFERENCE SET FOR JUNE 23, 2017
12                                                    TO AUGUST 25, 2017 AT 9:00 A.M.
                       Defendants.
13

14

15           IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,

16   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the

17   United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that

18   the status conference presently set for June 23, 2017 should be continued to August 25, 2017 at

19   9:00 a.m., and that time under the Speedy Trial Act should be excluded from June 23, 2017

20   through August 25, 2017.

21          The reason for the continuance is that Mr. Locke and other defense counsel need

22   additional time to review the discovery and to conduct investigation. There are over 14,000 pages

23   of discovery and multiple search warrants were executed in this case. At the request of the

24   defense, the government is working on providing a spreadsheet detailing the loss amounts for

25   each defendant. While the defense will continue to review the discovery that has been provided,

26   and conduct their own independent investigation, further information from the government will

27   greatly decrease the amount of analysis required to assess the case and determine what further

28   defense investigation is necessary. The exclusion of time is also necessary to ensure continuity of
                                                     1
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 1   counsel. Accordingly, the time between June 23, 2017 and August 25, 2017 should be excluded

 2   from the Speedy Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv)

 3   and Local Code T-4 for defense preparation. The parties stipulate that the ends of justice served

 4   by granting this continuance outweigh the best interests of the public and the defendants in a

 5   speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Foster and Mr. Wilson have authorized

 6   Mr. Locke to sign this pleading for them.

 7   DATED: June 14, 2017                          /s/ Bruce Locke
                                                   BRUCE LOCKE
 8                                                 Attorney for Kioni Dogan
 9
     DATED: June 14, 2017                          /s/ Bruce Locke
10                                                 For GREGORY FOSTER
                                                   Attorney for Gloria Harris
11

12   DATED: June 14, 2017                          /s/ Bruce Locke
                                                   For ROBERT WILSON
13                                                 Attorney for LAVONDA BAILEY
14
     DATED: June 14, 2017                          /s/ Bruce Locke
15                                                 For JARED DOLAN
                                                   Attorney for the United States
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            The Court finds, for the reasons stated above, that the ends of justice served by granting
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     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
20
     therefore.
21
            IT IS SO ORDERED.
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23
     Dated: June 14, 2017
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